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                                                                                              FILED
                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                          Norfolk Division
                                                                                      CLERK, U.S. DISTRICT COURT
                                                                                             KinRFQLK.VA
  COURTHOUSE NEWS SERVICE,

         Plaintiff,

  V.                                                          Civil Action No. 2:18-cv-391


  GEORGE E. SCHAEFER,in his Official
  Capacity as the Clerk of the Circuit Court
  for the City of Norfolk; and

  JACQUELINE C.SMITH,in her Official
  Capacity as the Clerk of the Circuit Court
  for Prince William County,

         Defendants.


                                       OPINION & ORDER


         This matter is before the Court on Courthouse News Service's ("CNS" or "Plaintiff)

  Motion for Attorneys' Fees and Costs. Doc. 103. CNS seeks $2,258,505.83 in attorneys' fees and

  costs from April 1, 2018 through February 28, 2020. Doc. 104 at 14."More specifically, CNS is

  claiming:(1)$1,890,198.50 in fees incurred prior to the conclusion of trial on February 5, 2020;

  (2) $135,747.50 in fees incurred after the conclusion of trial on the present fee motion and

  accompanying declarations; and (3)$232,559.83 in non-taxable costs." Doc. 104 at 14-15.

         Defendants have three main objections to the Plaintiffs request for fees. First,

  Defendants object to the firm of Bryan Cave Leighton & Pasiner, LLP ("BCLP")charging of out

  ofjurisdictional rates that are inconsistent with the local rate charged in the location where the

  Court sits. Second, Defendants objects to the number of hours billed by BCLP. Finally,

  Defendants object to $33,269.82 of trial expenses as they are expenses incurred as a result of

  transportation and lodging for out of state attorneys. On top of these objections, Defendants are
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